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 6   Liaison Counsel for Direct Action Plaintiffs
 7                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF CALIFORNIA
 8                                  SAN FRANCISCO DIVISION
 9    IN RE CATHODE RAY TUBE (CRT)                      Master File No. 3:07-md-05944-SC
      ANTITRUST LITIGATION
10                                                      MDL No. 1917
11   This Document Relates To:

12    Best Buy Co, Inc. v. Technicolor                  DIRECT ACTION PLAINTIFFS’
      SA, et al., No. 13-cv-05264;                      MOTION TO REMOVE INCORRECTLY
13                                                      FILED DOCUMENT
      Siegel v. Technicolor SA, et al., No. 13-cv-
14
      00141;
15
      Costco Wholesale Corp. v. Technicolor SA, et
16    al., No. 13-cv-05723;
17    Electrograph Systems, Inc. v. Technicolor SA,
18    et al., No. 13-cv-05724;

19    Interbond Corp. of Am. v. Technicolor SA, et
      al., No. 13-cv-05727;
20
      Office Depot, Inc. v. Technicolor SA, et al.,
21    No. 13-cv-05726;
22
      P.C. Richard & Son Long Island Corp. v.
23    Technicolor SA, et al., No. 13-cv-05725;

24    Sears, Roebuck & Co. v. Technicolor SA, et
      al., No. 13-cv-05262;
25

26    Schultze Agency Services, LLC v. Technicolor
      SA, et al., No. 13-cv-05668; and
27
      Target Corp. v. Technicolor SA, et al., No. 13-
28    cv-05686
     DIRECT ACTION PLAINTIFFS’ MOTION TO                                    Master File No. 3:07-md-05944-SC
     REMOVE INCORRECTLY FILED DOCUMENT
      Case 3:07-cv-05944-JST Document 2443 Filed 03/13/14 Page 2 of 3



 1          On January 27, 2013, Plaintiffs Best Buy Co., Inc.; Best Buy Purchasing L.L.C; Best Buy
 2   Enterprise Services, Inc.; Best Buy Stores, L.P.; BestBuy.com, L.L.C.; Magnolia Hi-Fi, L.L.C.;
 3   Alfred H. Siegel (as trustee of the Circuit City Stores, Inc. Liquidating Trust); Electrograph
 4   Systems, Inc.; Electrograph Technologies Corp.; Interbond Corporation of America; Office
 5   Depot, Inc.; Costco Wholesale Corporation; P.C. Richard & Son Long Island Corporation; ABC
 6   Appliance, Inc.; MARTA Cooperative of America, Inc.; Schultze Agency Services, LLC, (on
 7   behalf of Tweeter Opco, LLC, and Tweeter Newco, LLC); Sears Roebuck and Co. and Kmart
 8   Corp.; and Target Corp., (collectively “Plaintiffs”) filed an Administrative Motion to Seal
 9   Portions of their Opposition to Mitsubishi’s Motion to Dismiss Pursuant to Civil Local Rules 7-
10   11 and 79-5(d) to file under seal the highlighted portions of the following documents:
11
               Direct Action Plaintiffs’ Opposition to Mitsubishi’s Motion to Dismiss Complaints
12              (“Opposition”) [Dkt. No. 2358-3]

13          Plaintiffs have since learned that the redacted version of the above referenced document

14   [Dkt. No. 2358-3] contains a technical error. Consequently, this document may not comply with

15   Local Rule 79-5(f)(1).

16          Therefore, Plaintiffs respectfully request that the Court order removal of this incorrectly

17   filed document, as well as removal of the identical document that was filed in the following

18   matters:

19             Electrograph Systems, Inc. v. Technicolor SA, et al., No. 13-cv-05724, Dkt. No. 13-3

20             Interbond Corp. of Am. v. Technicolor SA, et al., No. 13-cv-05727, Dkt. No. 13-3

21             Office Depot, Inc. v. Technicolor SA, et al., No. 13-cv-05726, Dkt. No. 13-3

22             P.C. Richard & Son Long Island Corp. v. Technicolor SA, et al., No. 13-cv-05725,
                Dkt. No. 14-3
23
               Schultze Agency Services, LLC v. Technicolor SA, et al., No. 13-cv-05668, Dkt. No.
24              14-3
25          A corrected version of this document has been electronically filed at Docket No. 2380.
26
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     DIRECT ACTION PLAINTIFFS MOTION TO                                        Master File No. 3:07-md-05944-SC
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      Case 3:07-cv-05944-JST Document 2443 Filed 03/13/14 Page 3 of 3



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     DATED: February 11, 2014               /s/ Philip J. Iovieno
 2
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 7
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 8                                          and Counsel for Plaintiffs Electrograph
                                            Systems, Inc., Electrograph Technologies,
 9                                          Corp., Office Depot, Inc., Interbond
                                            Corporation of America, P.C. Richard &
10                                          Son Long Island Corporation, MARTA
                                            Cooperative of America, Inc., ABC
11                                          Appliance, Inc., and Schultze Agency
                                            Services, LLC
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22                                                 March 13, 2014
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     DIRECT ACTION PLAINTIFFS MOTION TO                                           Master File No. 3:07-md-05944-SC
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